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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiffs,                          4:18CR3126

    vs.
                                                        ORDER
JOSE A. DONATO, and ARTURO J.
GARCIA,

                 Defendants.


     IT IS ORDERED:


     1)    The Plaintiff’s unopposed email motion for a protective order is
           granted.

     2)    Defense counsel may review the discovery materials with the
           Defendant, but the Defendant may not retain a copy of the discovery
           materials. Defense counsel may allow their regular staff, as well as
           interpreters, to retain a copy of the discovery materials. Defense
           counsel shall not disseminate a copy of the discovery materials to
           anyone else without first obtaining this Court’s approval.


     Dated this 27th day of September, 2018.



                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge
